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6
7    Attorneys for Defendant,
     Helix Environmental and Strategic Solutions
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9
10                       UNITED STATES DISTRICT COURT
11                    SOUTHERN DISTRICT OF CALIFORNIA
12
13   HELIX ENVIRONMENTAL                       Case No. 18-cv-02000-AJB-NLS
     PLANNING, INC., a California              NOTICE OF MOTION AND
14
     corporation,                              DEFENDANT HELIX
15                                             ENVIRONMENTAL AND
                 Plaintiff,                    STRATEGIC SOLUTIONS’
16                                             MOTION TO SET ASIDE
                                               DEFAULT PURSUANT TO FED.
17         v.                                  R. CIV. P. 55(c)
18                                             [MEMORANDUM OF POINTS
     HELIX ENVIRONMENTAL AND                   AND AUTHORITIES AND
19   STRATEGIC SOLUTIONS, a California         DECLARATION OF
     corporation,                              CHRISTOPHER W. ARLEDGE
20                                             FILED CONCURRENTLY
                                               HEREWITH]
21               Defendant.
                                               Date:      May 30, 2019
22                                             Time:      2:00 p.m.
                                               Courtroom: 4A
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1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2            PLEASE TAKE NOTICE that on May 30, 2019 at 2:00 p.m., or as soon
3    thereafter as the matter may be heard before Honorable Anthony J. Battaglia, in
4    Courtroom 4A of the United States District Court, Southern District of California,
5    located at 221 West Broadway, Suite 3155, San Diego CA 92101, Defendant Helix
6    Environmental and Strategic Solutions (“Defendant”) will, and hereby does, move
7    this Court for an order setting aside the Default entered by the Clerk on January 22,
8    2019.
9            Pursuant to Rule 55(c) of the Federal Rules of Civil Procedure, good cause
10   exists to grant the relief sought as the default was entered as a result of misconduct
11   by counsel for Plaintiff Helix Environmental Planning, Inc. (“Plaintiff”) and/or
12   excusable neglect. Further, there will be no prejudice to the Plaintiff if the relief is
13   granted and Defendant has good and meritorious defenses to the claims asserted in
14   the Complaint.
15           This Motion is based on this Notice, the Memorandum of Points and
16   Authorities and Declaration of Chris Arledge filed concurrently herewith, the
17   pleadings and papers on file in this action, and on such other and further evidence as
18   may properly be before this Court.
19
20   Dated: February 7, 2019                  ONE LLP
21
                                             By: /s/ Christopher W. Arledge
22
                                                 Christopher W. Arledge
23                                               Jenny S. Kim
                                                 Attorneys for Defendant,
24                                               Helix Environmental and Strategic
                                                 Solutions
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1                             CERTIFICATE OF SERVICE
2          I certify that on February 7, 2019, the foregoing document was electronically
3    filed with the Clerk of the Court using the CM/ECF system, which will send
4    electronic notification of such filing to the CM/ECF participant(s) noted below:
5
6    Gary L. Eastman
     EASTMAN & MCCARTNEY, LLP
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     Helix Environmental Planning, Inc.
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11
12
13                                             /s/ Christopher W. Arledge
                                               Christopher W. Arledge
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